UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                                                :
ISRAEL MARCOLINO SCHAFFNER,                                     :
                                       Plaintiff,              :
                         – against –                           : MEMORANDUM AND ORDER
                                                                 19-CV-5298 (AMD) (RML)
                                                               :
DIAMOND RESORTS HOLDINGS, LLC,
VICTOR MENNA BARRETO, et al.                                   :
                                                                :
                                         Defendants.
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ANN M. DONNELLY, United States District Judge:
                                                                :
        On August 28, 2019, the pro se plaintiff filed :a complaint in the Supreme Court of the

State of New York, County of Queens, alleging fraud and violations of the Fair Credit Billing

Act and the Truth in Lending Act. (ECF No. 1-2.) On September 17, 2019, the defendants

removed the action to the Eastern District of New York.
                                                    : (ECF No. 1.) The Diamond defendants
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moved to dismiss the complaint for lack of standing on September 24, 2019. (ECF No. 6.) On
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September 30, 2019, the plaintiff submitted a response which, though styled as an opposition to
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the motion to dismiss, was a motion to remand the case
                                                    : to state court. (ECF No. 7.) I denied the
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motion to remand on October 10, 2019, and extended the plaintiff’s deadline for filing his
                                                  :
opposition motion to November 25, 2019. The plaintiff did not file an opposition by that date or

by any of the later dates the Court set in deference to the plaintiff’s pro se status. After the third

deadline passed without any word from the plaintiff, I deemed the motion to dismiss fully

briefed. For the reasons that follow, the federal claims are dismissed, but the state law claims

proceed.
                                             BACKGROUND1

          Diamond Resorts is a timeshare company that markets and sells timeshare memberships.

(ECF No. 1-2 ¶ 3.) The plaintiff claims that the company coerces vulnerable senior citizens into

entering into timeshare contracts through misrepresentations and fraud. (Id. ¶¶ 3-18.) According

to the complaint, Diamond Resorts used these tactics to coerce Mr. Vitor Menna Barreto, an

elderly person with limited English comprehension, to enter into timeshare contracts and

purchase additional timeshare use rights. (Id. ¶¶ 8, 14.) Mr. Barreto is named as a co-defendant

in this action, but has yet to appear.

          On May 18, 2017, Mr. Barreto met with a Diamond Resorts salesperson to discuss a new

purchase. (ECF No. 1-1 ¶ 3; ECF No. 1-2 ¶ 20.) Mr. Barreto asked the plaintiff to pay for the

purchase with his credit card. (ECF No. 1-1 ¶ 3.) The plaintiff agreed and authorized Diamond

Resorts to make a one-time charge to his credit card. (Id.) Mr. Barreto later repaid the plaintiff.

(Id.)

          In April of 2018, the plaintiff joined Mr. Barreto on a vacation in Orlando, Florida. (Id. ¶

4.) The plaintiff accompanied Mr. Barreto to a meeting with a Diamond Resorts salesperson and

advised him against purchasing any timeshare contracts or use rights. (Id.) After persistent

pressure, Mr. Barreto accepted the salesperson’s offer and asked the plaintiff again if he could

cover the purchase price on his credit card. (Id.) Although the plaintiff did not intend to buy any



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    For purposes of this motion, I accept as true the factual allegations in the original and amended
    complaints (ECF Nos. 1-1 and 1-2), and draw all reasonable inferences in the plaintiff’s favor. See
    Town of Babylon v. Fed. Hous. Fin. Agency, 699 F.3d 221, 227 (2d Cir. 2012). Courts ordinarily do not
    consider prior iterations of a complaint, but because the plaintiff proceeds pro se, I interpret both the
    original and amended complaints together as the operative complaint. See Little v. City of New York,
    No. 13-CV-3813, 2014 WL 4783006, at *1 (S.D.N.Y. Sept. 25, 2014) (“The plaintiff thus appears to
    believe that the Amended Complaint supplements, rather than replaces, the Original Complaint.
    Because the plaintiff is proceeding pro se, the Court will consider the Original Complaint and the
    Amended Complaint together as the operative pleading.”) (citations omitted).

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timeshare packages himself or cover Mr. Barreto’s purchase, he was under the influence of

alcohol and does “not recall much of what was the purchase or any details for the purchase were

that day.” (Id.)

       On July 3, 2018, the plaintiff noticed that Diamond Resorts had charged $22,485.59 to

his credit card. (Id. ¶ 6.) The plaintiff disputed the charge with his credit card company, but

Diamond Resorts provided paperwork to the credit card company that the plaintiff had approved

the transaction. (Id. ¶ 7.) The plaintiff claims that Diamond Resorts forged his signature on the

relevant paperwork. (Id. ¶ 9.)

       At some point, Mr. Barreto canceled the purchase, but the credit was not applied to the

plaintiff’s credit card. Instead, the funds were applied to Mr. Barreto’s account for a different

contract. (ECF No. 1-2 ¶¶ 21-22.) The defendants’ alleged actions affected the plaintiff’s credit

score and caused him emotional distress. (Id. ¶¶ 27, 30-31.) According to the plaintiff, he had to

quit school and find a second job to pay off the credit card debt from the payments to Diamond

Resorts. (Id. ¶ 32.)

                                    STANDARD OF REVIEW
       A court evaluating a motion to dismiss must accept as true the factual allegations in the

complaint and draw all reasonable inferences in the plaintiff’s favor. Town of Babylon, 699 F.3d

at 227. However, an action will survive only if the law recognizes the claims, and if the

complaint pleads “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is plausible on its face when the plaintiff

“pleads factual content that allows the court to draw the reasonable inference that the defendant

is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Twombly, 550 U.S. at 556). This standard requires more than an “unadorned, the-defendant-

unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

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       The Court must hold a pro se litigant’s pleadings to “less stringent standards than formal

pleadings drafted by lawyers.” Haines v. Kerner, 404 U.S. 519, 520 (1972). Accordingly, I read

the plaintiff’s complaint liberally and interpret it to raise the strongest arguments it suggests. See

Erickson v. Pardus, 551 U.S. 89, 94 (2007); Sealed Plaintiff v. Sealed Defendant #1, 537 F.3d

185, 191-93 (2d Cir. 2008).

                                           DISCUSSION

       The plaintiff asserts various fraud-based claims. He alleges that the Diamond

defendants’ sales practices violate the Fair Credit Billing Act and the Truth in Lending Act. He

also asserts a claim for intentional infliction of emotional distress under New York law. Because

the plaintiff is proceeding pro se, I interpret his complaint as asserting a claim under Section 349

of the New York General Business Law as well. The Diamond defendants argue that the

plaintiff does not have standing to challenge their sales practices in connection with the contract

into which they entered with Mr. Barreto. (ECF No. 6-1.)

  I.   Standing for Federal Claims

       Article III, Section 2 of the United States Constitution limits federal jurisdiction to actual

cases and controversies. As a result, a plaintiff’s standing to sue “is the threshold question in

every federal case, determining the power of the court to entertain the suit.” Warth v. Seldin, 422

U.S. 490, 498 (1975). To satisfy the “‘irreducible constitutional minimum’ of Article III

standing, a plaintiff must demonstrate (1) ‘injury in fact,’ (2) a ‘causal connection’ between that

injury and the complained-of conduct, and (3) a likelihood ‘that the injury will be redressed by a

favorable decision.’” Strubel v. Comenity Bank, 842 F.3d 181, 187-88 (2d Cir. 2016) (quoting

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)) (internal quotation marks omitted).




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         In addition to these constitutional requirements, there are also three prudential limitations

on standing: “the general prohibition on a litigant’s raising another person’s legal rights, the rule

barring adjudication of generalized grievances more appropriately addressed in the representative

branches, and the requirement that a plaintiff’s complaint fall within the zone of interests

protected by the law invoked.”2 Lexmark Int’l Inc. v. Static Control Components, Inc., 572 U.S.

118, 126 (2014) (citations and internal quotation marks omitted). “Although characterized as

‘prudential,’ these concerns relate to the elements of Article III standing.” Montesa v. Schwartz,

836 F.3d 176, 195 (2d Cir. 2016) (citing Lexmark, 572 U.S. at 127 n.3) (citation omitted).

         The defendants argue that the plaintiff is asserting Mr. Barreto’s rights rather than his

own. That is correct with respect to the federal claims. Citing the FCBA and TLA, the plaintiff

alleges that the defendants’ sales practices harmed Mr. Barreto. (See, e.g., ECF No. 1-2 ¶ 6

(“Defendant(s) and its contracted salespersons under duress, continue coercing Defendant

‘Shareholder’s’ such as Mr. Vitor Menna Barreto to purchase unnecessary points at every visit to

their office.”); ¶ 14 (“In addition to the lack of neutrality that the Quality Assurance employee

has, the Closing Documents that Defendant ‘shareholder’ Vitor Menna Barreto had to review are

so voluminous and so complex, that it would have taken them hours and hours to read and

understand.”).) The plaintiff’s federal claims therefore violate “the prudential standing rule that

normally bars litigants from asserting the rights or legal interests of others in order to obtain

relief from injury to themselves.” Warth, 422 U.S. at 509. Accordingly, the federal claims are

dismissed for lack of standing.




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    In addition, “because pro se means to appear for one’s self, a person may not appear on another
    person’s behalf in the other’s cause. A person must be litigating an interest personal to him.”
    Iannaccone v. Law, 142 F.3d 553, 558 (2d Cir. 1998) (citation omitted).

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    II.   State Law Claims

          As the defendants recognize, the amended complaint asserts facts giving rise to the

Court’s diversity jurisdiction. (See ECF No. 6-1 at 2 n.3 (citing ECF No. 1-2 ¶¶ 33-34).)3

Accordingly, the Court has subject matter jurisdiction over the remaining state law claims.

Because the defendants do not move to dismiss these claims, they will proceed to discovery.4

                                             CONCLUSION

          The defendants’ motion to dismiss the federal claims is granted. The case may proceed

with respect to the state law claims for intentional infliction of emotional distress and for

violations of Section 349 of New York’s General Business Law.

SO ORDERED.
                                                            s/Ann M. Donnelly
                                                           ___________________________
                                                           Ann M. Donnelly
                                                           United States District Judge


Dated: Brooklyn, New York
       June 1, 2020




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    The plaintiff is a citizen of New York (ECF No. 1-2 ¶ 1) and the defendants are citizens of Delaware,
    Maryland, Florida, Arizona and California (ECF No. 2). In the amended complaint, the plaintiff alleges
    that the amount in controversy exceeds $75,000. (ECF No. 1-2 ¶ 33.) That is sufficient at this stage.
    See Scherer v. Equitable Life Assurance Soc’y of U.S., 347 F.3d 394, 397 (2d Cir. 2003) (“This burden
    is hardly onerous, however, for we recognize ‘a rebuttable presumption that the face of the complaint is
    a good faith representation of the actual amount in controversy.’”) (citation omitted).
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    The plaintiff clearly has standing to challenge the Diamond defendants’ actions in withholding his
    money.

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